                                  IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                    CRIMINAL MINUTES:$55$,*10(17 6&+('8/,1*&21)5(1&(

    USA vs   Johntavis Lamar Rogers                        Date: March 3, 2022

    Case No. 2:22-CR-13                         Time 11:29 am           to 12:04 pm
    ===========================================================================
               Honorable CYNTHIA RICHARDSON WYRICK, U.S. Magistrate Judge, Presiding
    Amanda Gunter                              DCR                                           Mac D. Heavener, III
       Deputy Clerk                 Court Reporter                Asst. U.S. Attorney
    ============================================================================
     '()(1'$17                                                 '()(16($77251(<
    Johntavis Lamar Rogers                                                                retained David Leonard

    352&((',1*6       * Defendant sworn in
✔ 'HIHQGDQWDGYLVHGRIFKDUJHVSHQDOWLHVDQGULJKWV

✔ &RS\RILQGLFWPHQWSURYLGHGWRGHIHQVHFRXQVHOE\ clerk
✔ 3OHDRIQRWJXLOW\HQWHUHGWRDOOFKDUJHV
    'DWHVVHOHFWHGDQGVFKHGXOHGDVIROORZV      Oral motion made to set outside the Speedy Trial Act deadline:
                                                  GRANTED.
          -XU\7ULDOAugust 16, 2022 00:00 am
          EHIRUHWKH+RQRUDEOH J. Ronnie Greer
                                    5
          (VWLPDWHGOHQJWKRIWULDO'$<6
          0RWLRQFXWRII 6/24/22
          5HVSRQVHGHDGOLQH 7/8/22
          3OHD%DUJDLQFXWRII 8/2/22

    'HIHQGDQWUHPDQGHGWRFXVWRG\RI860DUVKDO      'HIHQGDQWUHOHDVHGRQERQG   ✔   'HIHQGDQWto remain on
                                                                                          conditions as stipulated from
✔   2UGHUVWRHQWHU                                                                     the other district with
                                                                                          additional restrictions.
        I, Amanda Gunter, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file:
                                  dcr_2-22-CR-13_20220303_112843




          Case 2:22-cr-00013-JRG-CRW Document 6 Filed 03/03/22 Page 1 of 1 PageID #: 36
